Case
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                           EXHIBIT A
           PROPOSED SCHEDULE OF PRETRIAL AND TRIAL DATES

    CASE NAME: Pope v. Experian Information Solutions, LLC
    CASE NO: 5:17-cv-02046-JLS

                                                          Plaintiff(s)    Defendant(s)
               Matter                   Deadline           Request          Request

     Last Day to File Motions to       Scheduling
     Add Parties and Amend           Conference Date       1/14/2019        1/14/2019
     Pleadings                        plus 60 Days

                                    18 weeks before the
     Fact Discovery                    Final Pretial      5/17/2019         5/17/2019
     Cut-Off                       Conference (“FPTC”)

     Last Day to Serve Initial      16 weeks before the
     Expert Reports                       FPTC            5/31/2019        5/31/2019

     Last Day to File Motions       16 weeks before the
     (except Daubert and all              FPTC            5/31/2019        5/31/2019
     other Motions in Limine)
     Last Day to Serve Rebuttal     12 weeks before the
     Expert Reports                       FPTC            6/28/2019         6/28/2019

     Last Day to Conduct            9 weeks before the
     Settlement Proceedings              FPTC             7/19/2019        7/19/2019

                                    8 weeks before the
     Expert Discovery Cut-Off            FPTC             7/26/2019        7/26/2019

     Last Day to File Daubert       7 weeks before the
     Motions                              FPTC            8/2/2019          8/2/2019

     Last Day to File Motions
                                    4 weeks before the
     in Limine (other than               FPTC              8/23/2019        8/23/2019
     Daubert Motions)

     Final Pre-Trial Conference                           9/20/2019         9/20/2019
     (Friday at 10:30 a.m.)

    Revised: October 1, 2018




   www.cacd.uscourts.gov                       7             jls_chambers@cacd.uscourts.gov
